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February 23, 2022



Citizen Suit Coordinator
Environment and Natural Resources Division
Law and Policy Section
P.O. Box 7415
Ben Franklin Station
Washington, DC 20044-7415                                           Sent via E-mail and Regular Mail




  RE: Supplemental Environmental Project (SEP) for Willamette Riverkeeper v. City of Albany,
                  Clean Water Act Settlement, Case No. 6:20-cv-01760-AA

To whom it may concern:

       The Calapooia Watershed Council (CWC) has read the proposed consent decree in the lawsuit
Willamette Riverkeeper v. the City of Albany, Case No. 6:20-cv-01760-AA and is pleased to submit a
proposal for a supplemental environmental project (SEP). The proposed work will benefit water quality
and aquatic and riparian habitat in the Willamette River basin. Settlement funds received by CWC
pursuant to the final consent decree will be used only for the work of CWC as outlined below for the
purposes specified in the proposed consent decree.

Calapooia Watershed Council Background

        The CWC is a 501(c)(3) organization (Tax ID XX-XXXXXXX) - and carries out its mission of
improving watershed health through the strategic restoration of areas within the Calapooia Watershed
and Muddy Creek Watershed. The CWC also engages in outreach and education to engage community
members and stakeholders in its activities and objectives. Watershed-wide restoration is conducted in
highest priority stream reaches and sub-basins. The council conducts comprehensive watershed
assessments to identify and prioritize specific restoration and conservation objectives. Projects
currently include the enhancement and establishment of riparian stream buffers, enhancing instream
complexity for native fishes, improving migratory fish passage, and restoring native oak-prairie habitats.




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Supplemental Environmental Project Proposal

        The proposed project is within the Periwinkle Creek system, an ungauged tributary to the
Willamette River and the largest urban creek system within the City of Albany. With its headwaters in
the foothills east of Albany, Periwinkle Creek flows through the City in a westerly direction until its
confluence with the Willamette River, where there is high quality habitat and rearing potential for native
fish species. Periwinkle Creek historically and still currently hosts a high diversity of native fish species,
including Chinook salmon (juveniles), Steelhead trout (juveniles), cutthroat trout (adult/juvenile), Pacific
lamprey (adult/juvenile), as well as native sculpin, suckers, and sandrollers. Additionally, an abundance
of City parks along Periwinkle Creek offer high exposure opportunities for effective public outreach and
education about habitat and water quality improvement initiatives.

        Existing obstacles to riparian habitat and water quality in the Periwinkle Creek system include
both educational deficits, as well as patterns of historical development. The watershed has been
thoroughly developed for agriculture and flood abatement within the City of Albany. System hydrology is
driven by stormwater runoff making Periwinkle Creek a flashy system that rapidly responds to storm
events. Runoff from agricultural land delivers fine sediment to the stream. Stormwater runoff from
impervious surfaces in the more urbanized area of the watershed contributes suspended sediment and
contaminants to the creek. Limiting factors for water quality improvements include: 1) degraded water
quality due to urban stormwater runoff and agricultural inputs; 2) reduced habitat diversity; 3) riparian
vegetation loss due to riparian conversion and bank armoring; 4) illegal dumping and trash; and 5) a
lack of community involvement for long term management and expanded mitigation of urban runoff.

        The proposed project is estimated to cost $42,000 and will address these limiting factors with an
inclusive restoration effort that will create direct habitat and water quality improvements, while
performing public outreach for community involvement and education. Direct improvements to be
implemented using SEP funds include the restoration of native shrub and tree populations along
Periwinkle Creek. A creek segment of over two thousand linear feet is selected for initial
implementation and is located near Periwinkle Park, a beloved and highly trafficked part of the Creek
system where there are combined opportunities for both effective restoration and public outreach.
Approximately 4 acres will be planted using the SEP funds with native species selected for fast growth
and drought tolerance, for successful establishment in urban conditions and the quick realization of
benefits such as stream shading and erosion control.

        With this combined ecological and cultural value in one creek system, there is potential for both
ecosystem improvement and increased community stewardship. To accomplish this goal, no more than
50% of SEP funds will be used for the organization and facilitation of outreach activities, and the
development of outreach materials needed for effective visualization and communication. Outreach
materials may also help to describe and promote Creek restoration efforts beyond the direct restoration
project scope. These materials will be used to help inspire and build community momentum to restore
larger portions of Periwinkle Creek over time, as well as support future grant applications to continually
increase funding and project reach. This project is unique and timely for the CWC. The CWC is

    351 Main Street | PO Box 844 Brownsville, OR, 97327            541.583.3626            calapooia.org
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prioritizing community lead, urban restoration and this will provide the funding necessary to get this goal
in motion.

       The CWC would use the SEP funds over a 2-year period for this project to improve water quality
and promote compliance with the Clean Water Act. The CWC will spend any money it receives under
the proposed consent judgment only for the purposes specified in the proposed consent judgment.
CWC will not use any money received under the proposed consent judgment for administrative
appeals, litigation legislative, or political lobbying activities. None of the SEP payments shall be
disbursed to the Willamette Riverkeeper. Following the expenditure of funds provided by the settlement
instrument, the CWC will submit to the Court, the United States, and the Parties a letter describing how
the Supplemental Environmental Project funds were spent.

       Thank you for your consideration of this proposal.




Respectfully,

Collin McCandless

Executive Director

Calapooia Watershed Council




    351 Main Street | PO Box 844 Brownsville, OR, 97327          541.583.3626           calapooia.org
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                                          Providing opportunities for stakeholders to cooperate in
                                          promoting
                                             and sustaining the health of the watershed and its
          Mr. Peter McVeigh            communities.
          Citizen Suit Coordinator
          Environment and Natural Resources Division
          Law and Policy Section
          P.O. Box 7415
          Ben Franklin Station
          Washington, D.C. 20044-7415

          RE: Supplemental Environmental Project (SEP) for Willamette Riverkeeper v. City of Albany,
          Case No. 6:20-cv-01760-AA

          Dear Mr. McVeigh,

          The North Santiam Watershed Council (NSWC or Council) has read the proposed consent
          decree in the lawsuit Willamette Riverkeeper v. City of Albany, Case No. 6:20-cv-01760-AA and
          is pleased to submit this proposal for a supplemental environmental project (SEP) as described
          in the proposed consent decree. The proposed work will benefit water quality and aquatic and
          riparian habitat in the Willamette River basin. Settlement funds received by NSWC pursuant to
          the final consent decree will be used only for the work of NSWC as outlined below for the
          purposes specified in the proposed consent decree.

          North Santiam Watershed Council Background
          The NSWC is a 501(c)(3) organization (Tax ID No. [XX-XXXXXXX]) and was formed by local
          volunteers in 1995 per Oregon Statute 541.910 and recognized by Marion and Linn County
          Commissioners in 1998. The Council by the nature of its broad base of stakeholders and non-
          advocacy roll has become the trusted entity leading community collaboration, watershed
          planning and private landowner grant funded restoration projects. The NSWC’s mission is to
          collaborate with interested parties to facilitate the restoration of habitat important to fish and
          wildlife and to support the economy and quality of life in our communities.

          Supplemental Environmental Project Proposal
          The proposed project is located within the 2020 Beachie Creek Wildfire perimeter where
          approximately 196,000 acres burned, impacting the North Santiam, Upper Mill Creek, Pudding,
          Molalla, and Clackamas watersheds. Hazardous materials from burned trees are an immediate
          health and safety concern. In addition, burned vegetation on steep slopes especially along
          waterways results in soil erosion, stream sedimentation, and slope instability.

          The project area is along Panther Creek, which is a tributary of the Little North Fork Santiam
          River and North Santiam River. During the 2020 wildfire, approximately 94% of the mostly
          forested lands in the Little North Fork Santiam River subbasin was burned, which has resulted in


              North Santiam Watershed Council 284 E. Water Street, Stayton, Oregon 97383 (503) 930-8202
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          increased soil erosion, stream sedimentation and has impacted water quality. The Little North
          Fork Santiam River/North Santiam River is critical habitat for Federally listed Upper Willamette
          River (UWR) Spring Chinook salmon and UWR winter steelhead as well as other species of
          concern. The proposed project includes a culvert replacement as well as riparian restoration
          and planting work above and below the stream crossing. The NSWC has partnered with local
          residence and the Marion Soil & Water Conservation District on this project and has been
          awarded additional grant funds in addition to SEP funds. The project will improve and restore a
          private road stream crossing and restore approximately 1 acre of riparian habitat (0.5 acres
          above the crossing and 0.5 acres below the crossing) on both sides of the stream reach and will
          improve access to 2 miles of upstream habitat. The increased conveyance capacity of the larger
          culvert will improve flow conveyance and sediment and debris transport capacity and allow for
          year-round fish passage. The riparian plantings will help stabilize the soils and provide a
          vegetated buffer to improve water quality. The total project is estimated to cost approximately
          $93,000, of which $42,000 in SEP funds will be applied and the remainder funded through
          grants and donations. NSWC will spend the SEP funds it receives under the final consent decree
          only for the purposes specified in this letter and the proposed consent decree. A copy of the
          project grant document further describing the project is attached.

          The North Santiam Watershed Council would use the SEP funds over a 12-month period for this
          project to improve water quality and promote compliance with the Clean Water Act. The NSWC
          will not use any funds received from the Consent Decree for administrative appeals, litigation,
          legislative, or political lobbying activities. None of the SEP payments shall be disbursed to the
          Willamette Riverkeeper. After NSWC has expended the Consent Decree funds, the NSWC will
          submit to the Court, the United States, and the Parties to the Consent Decree a letter
          describing how the Supplemental Environmental Project funds were spent.

          Thank you for your consideration of this proposal.

          Respectfully,



          Suzette Boudreaux
          Board President
          North Santiam Watershed Council




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            4431 Hwy 20, Sweet Home OR 97386    Phone 541-367-5564     www.sswc.org


Via E-Mail and Regular Mail

22 February 2022

Mr. Peter McVeigh
Citizen Suit Coordinator
Environment and Natural Resources Division
Law and Policy Section
P.O. Box 7415
Ben Franklin Station
Washington, DC 20044-7415

RE:     Supplemental Environmental Project (SEP) for Willamette Riverkeeper v.
        City of Albany, Clean Water Act Settlement, Case No. 6:20-cv-01760-AA

Dear Mr. McVeigh:

The South Santiam Watershed Council (SSWC) has read the proposed consent decree in
the lawsuit Willamette Riverkeeper v. City of Albany, Case No. 6:20-cv-01760-AA and is
pleased to submit this proposal for a supplemental environmental project (SEP) as
described in the proposed consent decree. The proposed work will benefit water quality
and aquatic and riparian habitat in the Willamette River basin. Settlement funds received
by SSWC pursuant to the final consent decree will be used only for the work of SSWC as
outlined below for the purposes specified in the proposed consent decree.

South Santiam Watershed Council Background

The SSWC is a 501(c)(3) organization (Tax ID No. XX-XXXXXXX) and was formed by
local community members in 1995. In accordance with ORS 541.345-541.400, the
SSWC was incorporated by the Linn County Commissioners in 1996. By nature of it
being a non-regulatory, non-governmental organization, the SSWC serves in the
community as a liaison, and is a trusted collaborator in watershed planning and
implementation, as well as securing grants to fund restoration projects on public and
private lands. The SSWC mission is to involve local people in the enhancement and
protection of the South Santiam watershed for the social and economic benefit of its
landowners, managers and users.




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Supplemental Environmental Project Proposal

The proposed project is located in the Thomas Creek subbasin of the South Santiam
River. Thomas Creek originates in rugged, forested terrain before flowing into flatter
lowlands dominated by agriculture and rural residential use. The headwaters are a mix of
federal (~20%), large private industrial timber, and small private industrial timber lands
(80% combined). The proposed project location is on a parcel owned by the Avery
Family, with the unique attribute of being owned by members of the extended family and
managed by Mason, Bruce and Girard. Once restored, this reach would offer spawning
and rearing habitat for listed Upper Willamette River spring Chinook and steelhead, as
well as migratory and resident lamprey species, and several other native fish species.
Upper Thomas Creek is designated by the Oregon Department of Environmental Quality
as a core cold water habitat for anadromous salmonids and is an index reach for Oregon
Department of Fish and Wildlife juvenile fish counts. Jordan Dam, located on Thomas
Creek below the proposed project location, is inoperable and has been partially
deconstructed. Spring Chinook Salmon carcasses have been found above Jordan Dam, as
have numerous Pacific lamprey, signaling that the dam does not appear to cause
significant passage issues during migration periods.

The project includes log placement, and supplemental plantings in the riparian area
adjacent to the log structures. Approximately 5 structures will be placed within the 1km
reach, with 3 key pieces, 3 additional stem logs, and brush/slash to fill. Some key pieces
will be tipped onsite, while others will be placed. Logs will be sourced from nearby
Avery Family property and from North Santiam logs salvaged after the 2020 Santiam
Canyon fires. This project will impact a greater area of stream than its footprint by
engaging an island and side channel in addition to instream effects both up and
downstream of the project location. Light-density planting in the riparian area will help
ensure that the site is rehabilitated after log placement, offering long-term woody inputs
to Thomas Creek. Additional funds have been secured for interpretive signs about
watershed restoration and salmon habitat, which will be placed near the log placements.
This area is frequently accessed by community members who park at the locked gate and
come in on foot. Future plans include upland restoration of a locally uncommon oak
woodland habitat immediately to the west of the proposed project area.

The total cost for this project is estimated at $85,000, of which $41,000 in SEP funds will
be applied and the remainder funded through in-kind donations and other cash
contributions (secured). SSWC will spend the SEP funds it receives under the final
consent decree only for the purposes specified in this letter and the proposed consent
decree.




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The South Santiam Watershed Council would use the SEP funds over a 12-to-18-month
period, depending on contractor availability, for this project to improve water quality and
promote compliance with the Clean Water Act. The SSWC will not use any funds
received pursuant to the consent decree for administrative appeals, litigation legislative,
or political lobbying activities. None of the SEP payments shall be disbursed to the
Willamette Riverkeeper. After the South Santiam Watershed Council has expended the
consent decree funds, the SSWC will submit to the Court, the United States, and the
Parties to the consent decree a letter describing how the Supplemental Environmental
Project funds were spent.

Thank you for your consideration of this proposal.

Respectfully,



Shannon Richardson
Executive Director
South Santiam Watershed Council




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